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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                        Plaintiff,

         v.                                       No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,
 CELLTRION, INC., and
 HOSPIRA, INC.

                        Defendants.



         MOTION FOR LEAVE TO IMPOUND CONFIDENTIAL PORTIONS OF
             DEFENDANTS’ MEMORANDA AND CERTAIN EXHIBITS

        Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Case No. 15-10698,

Dkt. 170), Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc.

(collectively “Defendants”), hereby move this Court for an Order to impound or otherwise seal the

following documents, on the ground these documents contain or reveal Plaintiff’s, Defendants’

and/or third-party confidential and proprietary information:

  Documents Related to Defendants’ Opposition to Plaintiff’s Motion to Exclude Rebecca
                              Betensky, Ph.D. (Dkt. 302)

   •    Defendants’ Opposition to Plaintiff’s Motion to Exclude Rebecca Betensky, Ph.D.

   •    Ex. 1, Excerpts of the 12/14/16 Deposition Transcript of Dr. Michael Butler;

   •    Ex. 2, Excerpts of the 12/7/16 Deposition Transcript of Dr. Florian Wurm;

       Documents Related to Defendants’ Opposition to Janssen’s Motion for Summary
             Judgment on the Issue of Non-Infringing Alternatives (Dkt. 303)

   •    Defendants’ Opposition to Janssen’s Motion for Summary Judgment on the Issue of Non-
        Infringing Alternatives;
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•   Defendants’ Response to Plaintiff’s Statement of Material Facts in Support of Plaintiff’s
    Motion for Summary Judgment on the Issue of Non-Infringing Alternatives and
    Defendants’ Statement of Material Facts (“Statement of Facts”);

•   Ex. 1, Excerpts of the 4/17/18 Deposition Transcript of Dr. Michael Butler;

•   Ex. 2, Excerpts of the Deposition Transcript of Dr. David Epstein;

•   Ex. 4, 2018-02-01 Plaintiff’s Objections and Responses to Defendants’ First Set of
    Requests for Admission (Nos. 1-18);

•   Ex. 5, Excerpts of the Expert Report of Sean Nicholson, Ph.D.;

•   Ex. 6, Excerpts of the Deposition Transcript of Sean Nicholson, Ph.D.;

•   Ex. 7, Excerpts of the Deposition Transcript of Yun Jeon Yang.

•   Ex. 8, Ex. 44 to the Deposition of Christopher Marsh;

•   Ex. 9, Ex. 6 to the Deposition of Dr. Susan Lenk;

•   Ex. 10, Excerpts of the Deposition Transcript of Christopher Marsh;

•   Ex. 11, Excerpts of the Deposition Transcript of Dr. Susan Lenk;

•   Ex. 12, Document produced by Janssen bearing the Bates number JANREM0125434;

•   Ex. 13, Document produced by Janssen bearing the Bates number JANREM0094983;

•   Ex. 14, Excerpts of the Deposition Transcript of Mark Stramaglia;

•   Ex. 15, Excerpts of the Deposition Transcript of Richard Lit;

•   Ex. 16, Excerpts of the June 2, 2016 Deposition Transcript of Jong Moon Cho;

•   Ex. 17, Excerpts of the Deposition Transcript of Min Kyoung Jeon;

•   Ex. 19, Excerpts of the Deposition Transcript of Scott White.

•   Ex. 20, Excerpts of the Expert Report of Dr. Gregory K. Leonard;

•   Ex. 21, Document produced by Hospira bearing Bates number HOS0032612;

•   Ex. 22, Excerpts of the Deposition Transcript of Dr. Bert Frohlich;

•   Ex. 23, Excerpts of the Deposition Transcript of Soo Young Lee;

•   Ex. 24, Appendix C to Report of Dr. Bert Frohlich;


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   •   Ex. 25, Document produced by Celltrion bearing Bates number CELLREM-0362056 and
       certified translation; and

   •   Ex. 26, Excerpts of the Deposition Transcript of Akhilesh Nagaich, Ph.D.

Defendants filed publicly available, redacted versions of each of the above briefs and the Statement

of Facts through the electronic filing system. Defendants request the other documents identified

above be sealed in their entirety.

       WHEREFORE, Defendants respectfully request that this Court allow this Motion.




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Dated: May 25, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

                                   /s/Andrea L. Martin, Esq._______
                                   Dennis J. Kelly (BBO # 266340)
                                   Andrea L. Martin (BBO #666117)
                                   BURNS & LEVINSON LLP
                                   125 Summer Street
                                   Boston, MA 02110-1624
                                   Tel: 617-345-3000
                                   dkelly@burnslev.com
                                   amartin@burnslev.com

                                   James F. Hurst, P.C. (pro hac vice)
                                   Bryan S. Hales, P.C. (pro hac vice)
                                   Elizabeth A. Cutri (pro hac vice)
                                   Gregory B. Sanford (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   300 North LaSalle
                                   Chicago, IL 60654
                                   Tel: (312) 862-2000
                                   james.hurst@kirkland.com
                                   bryan.hales@kirkland.com
                                   elizabeth.cutri@kirkland.com
                                   gregory.sanford@kirkland.com

                                   Ryan Kane (pro hac vice)
                                   James McConnell (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
                                   New York, NY 10022
                                   Tel: (212) 446-4800
                                   ryan.kane@kirkland.com
                                   james.mcconnell@kirkland.com

                                   Noah S. Frank (pro hac vice)
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., N.W.
                                   Washington, DC 20005
                                   Tel: (202) 879-5000
                                   noah.frank@kirkland.com




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                             Charles B. Klein (pro hac vice)
                             WINSTON & STRAWN LLP
                             1700 K Street, N.W.
                             Washington, D.C. 20006-3817
                             Tel: (202) 282-5000
                             cklein@winston.com

                             Samuel S. Park (pro hac vice)
                             Dan H. Hoang (pro hac vice)
                             WINSTON & STRAWN LLP
                             35 W. Wacker Drive
                             Chicago, IL 60601-9703
                             Tel: (312) 558-7931
                             spark@winston.com
                             dhoang@winston.com

                             Attorneys for Defendants Celltrion Healthcare
                             Co., Ltd., Celltrion, Inc., and Hospira, Inc.




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                                 LR 7.1(a)(2) CERTIFICATION

         I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s

counsel regarding this motion; Plaintiff assents to this Motion.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

         I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.
4822-6094-1926.2




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